Case 4:21-cv-00346 Document 78 Filed on 10/04/22 in TXSD Page 1 of 15




                                                              10/4/2022
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ITEMIZED COSTS


Transcripts

       Lexitas Invoice No. 1259223   $ 2,710.05
       Lexitas Invoice No. 1259926     1,641.26
       Lexitas Invoice No. 1290838     1,067.17
       Lexitas Invoice No. 1290845       725.73

                                                            $ 6,144.21

       U.S. Legal Invoice
              No. 20220164273-14     $    879.58
       U.S. Legal Invoice
              No. 20220107201-14         1,491.70
       U.S. Legal Invoice
              No. 20210034162-14          922.35

                                                            $ 3,293.63


                                     TOTAL COSTS            $ 9,437.84
              Case 4:21-cv-00346 Document 78 Filed on 10/04/22 in TXSD Page 4 of 15

                                                                                                     Invoice
                                                                                          Invoice No: 1259223
                                                                                                Invoice Date: 1/31/2022
                                                                                                Payment Terms: Net 30


Bill To:                                                    Case Name:
31401:1 Charles Wilson                                      Kimberly Pierce v. Houston Community College System US
1301 McKinney, Ste. 1900                                    District Court; Southern District of TX; Houston Division; C.A.
Houston Texas 77010                                         No. 4:21-cv-346
United States
                                                            Case Number: 4:21-cv-346

Header:

Job #                   Witness Name      Job Date    Location        Claim No.      Matter Number          Client Name
2022-826255             Kimberly Noelle   1/25/2022
                        Pierce




Item                                                                     Quantity                  Amount

Transcript - Original                                                    190                       $1,844.90
Exhibits - B/W Pages                                                     186                       $158.10
Electronic Transcript Processing                                         1                         $0.00
Rough Draft of Transcript                                                158                       $316.00
Rush Litigation Bundle                                                   1                         $135.00
Obtain Witness Signature/Filing Requirements                             1                         $50.00
Full Day Reporter Attendance                                             1                         $150.00
Parking                                                                  1                         $16.00




                                                                                                                   1 of 2
             Case 4:21-cv-00346 Document 78 Filed on 10/04/22 in TXSD Page 5 of 15

                                                                               Invoice
                                                                     Invoice No: 1259223
                                                                           Invoice Date: 1/31/2022
                                                                           Payment Terms: Net 30
 Memo:

 Sold To:
 31401:1 Charles Wilson
 1301 McKinney, Ste. 1900
 Houston Texas 77010
 United States
                                                                       Subtotal:    $2,670.00
 Please remit payments with invoice number included to:
 Lexitas
 PO Box 734298                                                          Tax(0%):
 Dept 2001
 Dallas, TX 75373-4298
                                                                          Total:    $2,670.00
 To pay this invoice by credit card:
 1) Visit https://www.lexitaslegal.com/pay-invoice
 2) Enter Job# 2022-826255                                 Payments and Credits:    $2,670.00

 TAX ID XX-XXXXXXX                                             Amount Due           $0.00
 1.5% ﬁnance charge on delinquent balances.                    After 3/2/2022 Pay   $2,710.05

 Payment not contingent upon client reimbursement.



Questions/Inquiries:
Email: Billing@lexitaslegal.com
Phone Number: 888-893-3767




                                                                                            2 of 2
              Case 4:21-cv-00346 Document 78 Filed on 10/04/22 in TXSD Page 6 of 15

                                                                                                      Invoice
                                                                                           Invoice No: 1259926
                                                                                                 Invoice Date: 2/1/2022
                                                                                                 Payment Terms: Net 30


 Bill To:                                                    Case Name:
 31401:1 Charles Wilson                                      Kimberly Pierce v. Houston Community College System US
 1301 McKinney, Ste. 1900                                    District Court; Southern District of TX; Houston Division; C.A.
 Houston Texas 77010                                         No. 4:21-cv-346
 United States
                                                             Case Number: 4:21-cv-346

Header: Charges for Original Video Services re:

 Job #                   Witness Name      Job Date    Location        Claim No.      Matter Number          Client Name
 2022-826255             Kimberly Noelle   1/25/2022
                         Pierce




 Item                                                                     Quantity                  Amount

 Video On-Site Hours                                                      7.25                      $870.00
 Video - SYNC                                                             4                         $560.00
 Video Digital Masters                                                    4                         $80.00
 Video Archive Support                                                    1                         $10.00
 Video Electronic Processing                                              1                         $75.00
 Parking                                                                  1                         $22.00


 Memo:

 Sold To:
 31401:1 Charles Wilson
 1301 McKinney, Ste. 1900
 Houston Texas 77010
 United States
                                                                                             Subtotal:    $1,617.00
 Please remit payments with invoice number included to:
 Lexitas
 PO Box 734298                                                                               Tax(0%):
 Dept 2001
 Dallas, TX 75373-4298
                                                                                                 Total:   $1,617.00
 To pay this invoice by credit card:
 1) Visit https://www.lexitaslegal.com/pay-invoice
 2) Enter Job# 2022-826255                                                    Payments and Credits:       $1,617.00

 TAX ID XX-XXXXXXX                                                                 Amount Due             $0.00
 1.5% ﬁnance charge on delinquent balances.                                        After 3/3/2022 Pay     $1,641.26

 Payment not contingent upon client reimbursement.


                                                                                                                    1 of 2
             Case 4:21-cv-00346 Document 78 Filed on 10/04/22 in TXSD Page 7 of 15

                                                                            Invoice
                                                                    Invoice No: 1259926
                                                                        Invoice Date: 2/1/2022
                                                                        Payment Terms: Net 30

Questions/Inquiries:
Email: Billing@lexitaslegal.com
Phone Number: 888-893-3767




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              Case 4:21-cv-00346 Document 78 Filed on 10/04/22 in TXSD Page 8 of 15

                                                                                                     Invoice
                                                                                          Invoice No: 1290838
                                                                                                Invoice Date: 4/20/2022
                                                                                                Payment Terms: Net 30


Bill To:                                                    Case Name:
31401:1 Charles Wilson                                      Kimberly Pierce v. Houston Community College System US
1301 McKinney, Ste. 1900                                    District Court; Southern District of TX; Houston Division; C.A.
Houston Texas 77010                                         No. 4:21-cv-346
United States
                                                            Case Number: 4:21-cv-346

Header:

Job #                   Witness Name       Job Date   Location        Claim No.      Matter Number          Client Name
2022-838610             Kimberly Pierce,   4/1/2022                                  059939.1025
                        Volume 2




Item                                                                     Quantity                  Amount

Transcript - Original                                                    94                        $531.10
Exhibits Pages                                                           78                        $66.30
Electronic Transcript Processing                                         1                         $0.00
Half Day Reporter Attendance                                             1                         $100.00
Obtain Witness Signature/Filing Requirements                             1                         $50.00
Legal View Connectivity                                                  1                         $50.00
Litigation Bundle                                                        1                         $110.00
Rough Draft of Transcript                                                72                        $144.00




                                                                                                                   1 of 2
             Case 4:21-cv-00346 Document 78 Filed on 10/04/22 in TXSD Page 9 of 15

                                                                                Invoice
                                                                     Invoice No: 1290838
                                                                           Invoice Date: 4/20/2022
                                                                           Payment Terms: Net 30
 Memo:

 Sold To:
 31401:1 Charles Wilson
 1301 McKinney, Ste. 1900
 Houston Texas 77010
 United States
                                                                       Subtotal:    $1,051.40
 Please remit payments with invoice number included to:
 Lexitas
 PO Box 734298                                                          Tax(0%):
 Dept 2001
 Dallas, TX 75373-4298
                                                                           Total:   $1,051.40
 To pay this invoice by credit card:
 1) Visit https://www.lexitaslegal.com/pay-invoice
 2) Enter Job# 2022-838610                                 Payments and Credits:    $0.00

 TAX ID XX-XXXXXXX                                            Amount Due            $1,051.40
 1.5% ﬁnance charge on delinquent balances.                   After 5/20/2022 Pay   $1,067.17

 Payment not contingent upon client reimbursement.



Questions/Inquiries:
Email: Billing@lexitaslegal.com
Phone Number: 888-893-3767




                                                                                            2 of 2
             Case 4:21-cv-00346 Document 78 Filed on 10/04/22 in TXSD Page 10 of 15

                                                                                                      Invoice
                                                                                           Invoice No: 1290845
                                                                                                 Invoice Date: 4/20/2022
                                                                                                 Payment Terms: Net 30


 Bill To:                                                    Case Name:
 31401:1 Charles Wilson                                      Kimberly Pierce v. Houston Community College System US
 1301 McKinney, Ste. 1900                                    District Court; Southern District of TX; Houston Division; C.A.
 Houston Texas 77010                                         No. 4:21-cv-346
 United States
                                                             Case Number: 4:21-cv-346

Header: Charges for Original Video Services re:

 Job #                   Witness Name       Job Date   Location        Claim No.      Matter Number          Client Name
 2022-838610             Kimberly Pierce,   4/1/2022                                  059939.1025
                         Volume 2




 Item                                                                     Quantity                  Amount

 Video On-Site Hours                                                      3.5                       $420.00
 Video - NON- SYNC                                                        2                         $170.00
 Video Digital Masters                                                    2                         $40.00
 Video Archive Support                                                    1                         $10.00
 Video Electronic Processing                                              1                         $75.00


 Memo:

 Sold To:
 31401:1 Charles Wilson
 1301 McKinney, Ste. 1900
 Houston Texas 77010
 United States
                                                                                             Subtotal:    $715.00
 Please remit payments with invoice number included to:
 Lexitas
 PO Box 734298                                                                               Tax(0%):
 Dept 2001
 Dallas, TX 75373-4298
                                                                                                 Total:   $715.00
 To pay this invoice by credit card:
 1) Visit https://www.lexitaslegal.com/pay-invoice
 2) Enter Job# 2022-838610                                                    Payments and Credits:       $0.00

 TAX ID XX-XXXXXXX                                                               Amount Due               $715.00
 1.5% ﬁnance charge on delinquent balances.                                      After 5/20/2022 Pay      $725.73

 Payment not contingent upon client reimbursement.




                                                                                                                    1 of 2
            Case 4:21-cv-00346 Document 78 Filed on 10/04/22 in TXSD Page 11 of 15

                                                                            Invoice
                                                                    Invoice No: 1290845
                                                                        Invoice Date: 4/20/2022
                                                                        Payment Terms: Net 30

Questions/Inquiries:
Email: Billing@lexitaslegal.com
Phone Number: 888-893-3767




                                                                                       2 of 2
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                                                                                                                         INVOICE
                                                                                                        Invoice No.                  Invoice Date                Payment Terms

                                                                                                     20220164273-14                      5/3/2022                       Net 30

SW - DALLAS                                                                                                 Job No.                     Job Date                       Balance
16825 Northchase Drive Suite 900
Houston TX 77060                                                                                            6128716                     4/22/2022                      $879.58
Phone: 214-741-6001 Fax: 214-741-6824
                                                                                                                                      Case Name

                                                                                                                  Kimberly Pierce v. Houston Community College System

Charles Wilson                                                                                                                           Case No.
Littler Mendelson P.C.
1301 McKinney Street # 1900                                                                                                            421CV346
Houston TX 77010




                   Job Location                                                     Ordered By                                                    Reference Info.

U.S. Legal Support - Remote VideoConference                    Charles Wilson                                                   Client Matter No:
                                                               Littler Mendelson P.C.                                           Claim No:
                                                               1301 McKinney Street # 1900                                      Insured:
                                                               Houston TX 77010



                               Services/Items                                                 Units                      Type                     Rate                   Charges
1 CERTIFIED COPY TRANSCRIPT OF: Joelyn Rogers
Copy                                                                                                   73.00                    Pages                     $4.00                  $292.00
Exhibit                                                                                                    9.00                 Pages                     $0.65                    $5.85
Post Proceeding Transcription Request                                                                      1.00                    N/A                 $295.00                   $295.00
Condensed Transcript                                                                                       1.00                    N/A                   $15.00                   $15.00
Administration Fee                                                                                         1.00                    N/A                   $32.00                   $32.00
Transcript Handling & Processing                                                                           1.00                    N/A                   $70.00                   $70.00
Litigation Technology, Support and Security Management                                                     1.00                    N/A                   $55.00                   $55.00
                                                                                      Total Due                                                                               $764.85
                                                                                      (-) Payments/Credits                                                                        $0.00
                                                                                      (+) Finance Charges/Late Fees                                                           $114.73
                                                                                      (=) New Balance                                                                         $879.58
Tax ID : XX-XXXXXXX Nevada Firm Registration # 067F                                                                                                     Phone: 713-951-9400

Invoice not paid by due date is subject to interest of 1.5% per month. We will make reasonable efforts to allocate payments properly. U.S. Legal Support may recover any fees and costs it
                  incurs in collecting any unpaid amounts. Any rights regarding allocations, refunds or adjustments after 90 days from payment shall be waived by payer.
                                             Review our Terms & Conditions for additional information at our website www.uslegalsupport.com.

                                                     "Please detach bottom portion and return with payment."
                                                                                          Invoice No.        20220164273-14               Invoice Date      5/3/2022
 Charles Wilson
 Littler Mendelson P.C.                                                                   Job No.            6128716                      Case No.          421CV346
 1301 McKinney Street # 1900
 Houston TX 77010                                                                         Total Due          $879.58




Remit To:          U.S. Legal Support, Inc.                                                         PAY BY CREDIT CARD
                   P.O. Box 4772
                   Houston, TX 77210                                                                Cardholder's Name:

                                                                                                    Card Number:

                                                                                                    Exp. Date:                    Phone:

                                                                                                    Billing Address:

                                                                                                    Zip:                                     Card Security Code:

                                                                                                    Amount to Charge:

                                                                                                    Cardholder's Signature:
                      Case 4:21-cv-00346 Document 78 Filed on 10/04/22 in TXSD Page 13 of 15

                                                                                                                         INVOICE
                                                                                                        Invoice No.                  Invoice Date                Payment Terms

                                                                                                     20220107201-14                      2/11/2022                      Net 30

SW - DALLAS                                                                                                Job No.                      Job Date                      Balance
16825 Northchase Drive Suite 900
Houston TX 77060                                                                                          6058574                       1/26/2022                       $0.00
Phone: 214-741-6001 Fax: 214-741-6824
                                                                                                                                      Case Name

                                                                                                                Kimberly Pierce v. Houston Community College System

Charles Wilson                                                                                                                           Case No.
Littler Mendelson P.C.
1301 McKinney Street # 1900                                                                                                            421CV346
Houston TX 77010




                   Job Location                                                     Ordered By                                                    Reference Info.

U.S. Legal Support - Remote VideoConference                    Charles Wilson                                                   Client Matter No:
                                                               Littler Mendelson P.C.                                           Claim No:
                                                               1301 McKinney Street # 1900                                      Insured:
                                                               Houston TX 77010



                               Services/Items                                                 Units                     Type                      Rate                   Charges
1 CERTIFIED COPY TRANSCRIPT OF: General
Administration Fee                                                                                      1.00                       N/A                   $32.00                   $32.00
1 CERTIFIED COPY TRANSCRIPT OF: Renee Mack
Copy                                                                                                 138.00                     Pages                     $4.00                  $552.00
2 Business Day Expedite                                                                                                                                                          $496.80
Exhibit                                                                                                21.00                    Pages                     $0.65                   $13.65
Exhibits (Color)                                                                                        8.00                    Pages                     $1.50                   $12.00
Condensed Transcript                                                                                    1.00                       N/A                   $15.00                   $15.00
Transcript Handling & Processing                                                                        1.00                       N/A                   $70.00                   $70.00
Litigation Technology, Support and Security Management                                                  1.00                       N/A                   $55.00                   $55.00
Rough Draft                                                                                          109.00                     Pages                     $2.25                  $245.25
This invoice replaces invoice #20220102131-14                                         Total Due                                                                              $1491.70
                                                                                      (-) Payments/Credits                                                                   $1491.70
                                                                                      (+) Finance Charges/Late Fees                                                               $0.00
                                                                                      (=) New Balance                                                                             $0.00
Tax ID : XX-XXXXXXX Nevada Firm Registration # 067F                                                                                                     Phone: 713-951-9400

Invoice not paid by due date is subject to interest of 1.5% per month. We will make reasonable efforts to allocate payments properly. U.S. Legal Support may recover any fees and costs it
                  incurs in collecting any unpaid amounts. Any rights regarding allocations, refunds or adjustments after 90 days from payment shall be waived by payer.
                                             Review our Terms & Conditions for additional information at our website www.uslegalsupport.com.
                Case 4:21-cv-00346 Document 78 Filed on 10/04/22 in TXSD Page 14 of 15
                                        "Please detach bottom portion and return with payment."
                                                                       Invoice No.      20220107201-14          Invoice Date    2/11/2022
 Charles Wilson
 Littler Mendelson P.C.                                                Job No.          6058574                 Case No.        421CV346
 1301 McKinney Street # 1900
 Houston TX 77010                                                      Total Due        $0.00




Remit To:    U.S. Legal Support, Inc.                                            PAY BY CREDIT CARD
             P.O. Box 4772
             Houston, TX 77210                                                   Cardholder's Name:

                                                                                 Card Number:

                                                                                 Exp. Date:                Phone:

                                                                                 Billing Address:

                                                                                 Zip:                               Card Security Code:

                                                                                 Amount to Charge:

                                                                                 Cardholder's Signature:
                      Case 4:21-cv-00346 Document 78 Filed on 10/04/22 in TXSD Page 15 of 15

                                                                                                                         INVOICE
                                                                                                        Invoice No.                  Invoice Date                Payment Terms

                                                                                                     20210034162-14                    11/11/2021                       Net 30

SW - AUSTIN                                                                                                 Job No.                     Job Date                      Balance
16825 Northchase Drive Suite 900
Houston TX 77060                                                                                            6019431                      11/5/2021                      $0.00
Phone: 512-292-4249 Fax: 512-292-3866
                                                                                                                                      Case Name

                                                                                                                  Kimberly Pierce v. Houston Community College System

Charles Wilson                                                                                                                           Case No.
Littler Mendelson P.C.
1301 McKinney Street # 1900                                                                                                            421CV346
Houston TX 77010




                   Job Location                                                     Ordered By                                                    Reference Info.

U.S. Legal Support - Remote VideoConference                    Charles Wilson                                                   Client Matter No:
                                                               Littler Mendelson P.C.                                           Claim No:
                                                               1301 McKinney Street # 1900                                      Insured:
                                                               Houston TX 77010



                               Services/Items                                                 Units                      Type                     Rate                   Charges
1 CERTIFIED COPY OF TRANSCRIPT OF: Sean O'Neal
Copy                                                                                                   67.00                    Pages                     $4.00                  $268.00
Exhibit                                                                                                72.00                    Pages                     $0.55                   $39.60
Exhibits (Color)                                                                                       53.00                    Pages                     $1.50                   $79.50
Condensed Transcript                                                                                       1.00                    N/A                   $15.00                   $15.00
Transcript Handling & Processing                                                                           1.00                    N/A                   $70.00                   $70.00
Transcript Technology Package                                                                              1.00                    N/A                   $65.00                   $65.00
Expedite Fee on Original                                                                                   1.00                    N/A                Minimum                    $385.25
                                                                                      Total Due                                                                               $922.35
                                                                                      (-) Payments/Credits                                                                    $922.35
                                                                                      (+) Finance Charges/Late Fees                                                               $0.00
                                                                                      (=) New Balance                                                                             $0.00
Tax ID : XX-XXXXXXX Nevada Firm Registration # 067F                                                                                                     Phone: 713-951-9400

Invoice not paid by due date is subject to interest of 1.5% per month. We will make reasonable efforts to allocate payments properly. U.S. Legal Support may recover any fees and costs it
                  incurs in collecting any unpaid amounts. Any rights regarding allocations, refunds or adjustments after 90 days from payment shall be waived by payer.
                                             Review our Terms & Conditions for additional information at our website www.uslegalsupport.com.

                                                     "Please detach bottom portion and return with payment."
                                                                                          Invoice No.        20210034162-14               Invoice Date      11/11/2021
 Charles Wilson
 Littler Mendelson P.C.                                                                   Job No.            6019431                      Case No.          421CV346
 1301 McKinney Street # 1900
 Houston TX 77010                                                                         Total Due          $0.00




Remit To:          U.S. Legal Support, Inc.                                                         PAY BY CREDIT CARD
                   P.O. Box 4772
                   Houston, TX 77210                                                                Cardholder's Name:

                                                                                                    Card Number:

                                                                                                    Exp. Date:                    Phone:

                                                                                                    Billing Address:

                                                                                                    Zip:                                     Card Security Code:

                                                                                                    Amount to Charge:

                                                                                                    Cardholder's Signature:
